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19                         UNITED STATES DISTRICT COURT
20                        CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
21
22     MARIAN ELIZABETH HARRIS,             )   Case No. CV 19-09110-AS
23                                          )
             Plaintiff,                     )   [PROPOSED] ORDER AWARDING
24                                          )   EQUAL ACCESS TO JUSTICE
25               v.                         )   ACT ATTORNEY FEES
       ANDREW SAUL,                         )   PURSUANT TO 28 U.S.C. § 2412(d)
26     Commissioner of Social Security,     )
27                                          )
             Defendant.                     )
28
                                            )
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 1           Based upon the parties’ Stipulation for the Award and Payment of Equal
 2     Access to Justice Act Fees, IT IS ORDERED that fees in the amount of FIVE
 3     THOUSAND FIVE HUNDRED and FIFTY DOLLARS [$5,550.00]. as authorized
 4     by 28 U.S.C. § 2412(d), be awarded subject to the terms of the Stipulation
 5
 6             10/29/20
       Dated: ___________                /S/ Alka Sagar
                                       ___________________________________
                                       HONORABLE ALKA SAGAR
 7                                     UNITED STATES MAGISTRATE JUDGE
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